Case 2:87-cr-80933-LJM-SDP ECF No. 1579, PageID.1173 Filed 12/21/12 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,                          Case No. 87-CR-80933-09

 v.                                               Hon. Gerald E. Rosen

 WILLIAM JACKSON,

            Defendant.
 _________________________________/

                       ORDER DENYING DEFENDANT’S
                     MOTION FOR REDUCTION IN SENTENCE

                               At a session of said Court, held in
                            the U.S. Courthouse, Detroit, Michigan
                            on _____________________________

                           PRESENT: Honorable Gerald E. Rosen
                                    Chief Judge, United States District Court

       In an order dated June 25, 2009, the Court denied a motion in which Defendant

 William Jackson sought a reduction in his sentence pursuant to 18 U.S.C. § 3582(c)(2).

 This prior motion rested upon a then-recent amendment to the United States Sentencing

 Guidelines (“U.S.S.G”), Amendment 706, which generally made two-level downward

 adjustments to the base offense levels established under U.S.S.G. § 2D1.1(c) for drug

 offenses involving crack cocaine. As the Court explained in its June 25, 2009 order, this

 amendment did not trigger Defendant’s eligibility for a sentence reduction under §

 3582(c)(2), because (i) Defendant’s Sentencing Guidelines range at his February 1994

 sentencing was computed using a base offense level of 36, (ii) Defendant’s drug
Case 2:87-cr-80933-LJM-SDP ECF No. 1579, PageID.1174 Filed 12/21/12 Page 2 of 5




 conspiracy offense involved five kilograms of crack cocaine, and (iii) the “base offense

 level for a drug offense involving 5 kilograms of cocaine base has never dropped below

 38,” but instead remained at 38 in the wake of Amendment 706. (6/25/2009 Order at 2-

 3.)1 Accordingly, the Court held that “Defendant plainly cannot appeal to the crack

 cocaine amendments as warranting a reduction in his sentence, because this sentence was

 not based on a Sentencing Guidelines range that has subsequently been lowered by these

 amendments.” (Id. at 3.)

        Through the present motion, Defendant again returns to the Court and seeks a

 sentence reduction pursuant to § 3582(c)(2), this time appealing to a new round of

 Sentencing Guideline amendments, Amendments 748 and 750, that make additional

 downward adjustments to the base offense levels applicable to crack cocaine offenses.

 Most notably for present purposes, while the version of the Sentencing Guidelines prior to

 these amendments set a base offense level of 38 for drug offenses involving 4.5 kilograms

 or more of cocaine base, see U.S.S.G. § 2D1.1(c) (2008), the Guidelines now call for a

 base offense level of 36 for drug offenses that involve at least 2.8 kilograms but less than

 8.4 kilograms of cocaine base, see U.S.S.G. § 2D1.1(c) (Nov. 1, 2010).

        At first glance, this latest round of Sentencing Guideline amendments seemingly

        1
          As explained in the June 25, 2009 order, Defendant’s base offense level of 36 was a
 byproduct of the 1988 version of the Sentencing Guidelines, which established a maximum base
 offense level of 36 for any drug offenses involving 500 grams or more of cocaine base. This
 aspect of the Guidelines was amended in November of 1989 to mandate higher base offense
 levels for offenses involving extremely large drug quantities. Following this 1989 amendment,
 the base offense level for a drug offense involving 5 kilograms or more of cocaine base remained
 at or above 38 over the years, even after the adoption of Amendment 706.

                                                2
Case 2:87-cr-80933-LJM-SDP ECF No. 1579, PageID.1175 Filed 12/21/12 Page 3 of 5




 fails to establish Defendant’s eligibility for a reduced sentence under § 3582(c). These

 amendments, after all, operate to reduce the base offense level for a five-kilogram crack

 cocaine offense to 36 — the very same base offense level used to compute Defendant’s

 sentencing range under the Guidelines when he was sentenced back in 1994. Just as with

 Defendant’s prior motion under § 3582(c), then, it would appear that his present motion

 should be denied for failure to show that his 1994 sentence was “based on a Sentencing

 Guideline range that has subsequently been lowered” by the latest amendments.

 (6/25/2009 Order at 3.)

        In an effort to avoid this result, Defendant suggests that his sentencing range under

 the amended U.S.S.G. § 2D1.1(c) should be determined by reference to drug offenses

 involving only 500 grams of cocaine base, as opposed to five kilograms. This argument

 rests upon the Court’s use of this 500-gram quantity in determining Defendant’s

 Guideline sentencing range at his 1994 sentencing. Yet, at the time, it was unnecessary

 for the Court to settle upon a precise quantity of cocaine base beyond the 500-gram

 threshold. As explained in the Court’s June 25, 2009 order, the applicable 1988 version

 of the Sentencing Guidelines “called for a base offense level of 36 for drug offenses

 involving 500 grams or more of cocaine base,” (6/25/2009 Order at 2), and additional

 quantities of crack cocaine did not trigger a still higher base offense level under this

 version of the Guidelines.

        Nonetheless, in deciding Defendant’s prior motion for sentencing relief under §

 3582(c), the Court found it appropriate to treat Defendant’s drug offense as involving five

                                               3
Case 2:87-cr-80933-LJM-SDP ECF No. 1579, PageID.1176 Filed 12/21/12 Page 4 of 5




 kilograms of cocaine base, (see id.), and it remains appropriate to do so here.2 As

 observed in the Court’s ruling on Defendant’s prior motion, Defendant’s presentence

 report charged him with responsibility for five kilograms of crack cocaine, and

 “Defendant did not lodge any objections to this — or, for that matter, any other — aspect

 of the presentence report.” (Id. at 2 & n.2; see also Presentence Report at ¶ 40

 (determining that, “[f]or guidelines purposes,” Defendant was responsible for “5,000

 grams of crack cocaine”).) Under the law governing each of Defendant’s two motions for

 a sentence reduction, the Court is entitled to rely on this unchallenged drug quantity

 finding in Defendant’s presentence report, and § 3582(c) does not confer an opportunity

 to relitigate this sentencing factor. See, e.g., United States v. Metcalfe, 581 F.3d 456, 459

 (6th Cir. 2009); United States v. McKinney, No. 11-1439, 464 F. App’x 444, 447 (6th Cir.

 Feb. 23, 2012); United States v. Blackmon, No. 09-1377, 380 F. App’x 498, 501 (6th Cir.

 June 8, 2010). It follows that, even with the latest round of amendments to U.S.S.G. §

 2D1.1(c), Defendant remains ineligible for a sentence reduction.

        For these reasons,




        2
         Notably, Defendant chose not to appeal the Court’s June 25, 2009 ruling, and this ruling
 therefore remains undisturbed as the law of the case.

                                                4
Case 2:87-cr-80933-LJM-SDP ECF No. 1579, PageID.1177 Filed 12/21/12 Page 5 of 5




       NOW, THEREFORE, IT IS HEREBY ORDERED that Defendant’s August 18,

 2011 motion for reduction of sentence (docket #1563) is DENIED.



                          s/Gerald E. Rosen
                          Chief Judge, United States District Court

 Dated: December 21, 2012

 I hereby certify that a copy of the foregoing document was served upon the parties and/or
 counsel of record on December 21, 2012, by electronic and/or ordinary mail.

                          s/Julie Owens
                          Case Manager




                                             5
